  Case 4:20-cv-00283-O Document 90 Filed 08/11/22                   Page 1 of 1 PageID 1748



                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 BRAIDWOOD MANAGEMENT INC. et                    §
 al.,                                            §
                                                 §
        Plaintiffs,                              §
                                                 § Civil Action No. 4:20-cv-00283-O
 v.                                              §
                                                 §
 XAVIER BECERRA et al.,                          §
                                                 §
        Defendants.                              §

                                              ORDER

       Before the Court is Plaintiff’s Unopposed Motion to Amend Caption (ECF No. 89), filed

August 10, 2022. Noting the motion is unopposed, the Court GRANTS the motion and DIRECTS

the Clerk of Court to update the case caption as reflected in this order.

       SO ORDERED on this 11th day of August, 2022.

                                                    _____________________________________
                                                    Reed O’Connor
                                                    UNITED STATES DISTRICT JUDGE
